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AO 442 (1'.ev. 11/J l) Arrest Warrant



                                           UNITED STATES DISTRICT COURT
                                                                              for the

                                                                     District of Vermont


                    United States of America
                                     V.                                         )
                                                                                )         Case No. 2:18-cr-123-1
                                                                                )
                       KRYSTAL WHITCOMB                                         )
                                                                                )
                                                                                )
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                                                                                                                                                  .r::-

                                                              ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested) ___;_;K:.:. ,ry!:. ;:s:. : ta:; .;.1. :.W.:.;h:. : it:. :c:.: :o. :.m:=b;. ___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment                O Superseding Indictment                  O Information           O Superseding Information                O Complaint
O Probation Violation Petition                    O Supervised Release Violation Petition                  fl violation Notice O Order of the Court
This offense is briefly described as follows:
  Defendant has failed to comply with the conditions of his release.




Date:   _1allli_l--=O__
                                                                                                ~---
City and state:          Burlington, Vermont                                                     Hon. Christina Reiss, U.S. District Judge
                                                                                                              Printed name and title


                                                                             Return

          This warr~t was rec~ived on (date) /
at (city and state) Y-S\J I' j, 111 ,
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                                                            0/2, C/:;. ~ "l <:i
                                                                     1   .
                                                                                    ,an# arrested on                         (dat,)



Date: 11    {:::,~/;)..<::::;:;. ~
            (      I
                                                                                        /4                 Arresting officer's signature



                                                                                                              Printed name and title
